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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                 v.                            :       Crim No. 1:21-cr-00062-JDB
                                               :
THOMAS BARANYI,                                :
                                               :
                        Defendant.             :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Thomas Baranyi, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count


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of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.



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       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


              Thomas Baranyi’s Participation in the January 6, 2021, Capitol Riot

       8.      The defendant, Thomas Baranyi, traveled from New Jersey to Washington, D.C.

to join in objections to the Electoral College vote certification for the 2020 Presidential Election

on January 6, 2021. The defendant sent a text message to W-1 in the early morning on January

6, 2021, stating that “I’m so happy man I’m finally going to be a part of it and not just talking

about it.” In prior weeks, the defendant had texted W-1 that “They [politicians] have to be

removed. By force. That’s the only way.” (Dec. 14, 2020); “Bludgeon thru them to get to the

government that’s the only way left” (Dec. 12, 2020); and “Let’s hope jan 6 they do the right

thing and object” (Dec. 25, 2020).

       9.      On January 6, 2021, the defendant was among the scores of individuals who

entered the U.S. Capitol Building without permission while Congress convened to certify the

Electoral College vote. The defendant entered at approximately 2:23 pm through the Senate


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Wing Door. The defendant remained in the Building until law enforcement officers ushered a

crowd including the defendant out of the East Front House Door at approximately 2:56 p.m.

       10.      While inside the Capitol Building, the defendant walked through areas including

the Crypt and Statutory Hall before joining a large crowd gathered around a barricaded door to

the Speaker’s Lobby, a hallway that connects to the House of Representatives Chamber in the

U.S. Capitol Building.

       11.      The defendant saw an officer behind the Speaker’s Lobby door with a gun raised

and approached the door and appeared to motion to a female near the front of the crowd to stand

down. The female was shot climbing through a glass panel that was smashed out by another

member of the crowd.

       12.      The defendant knew at the time he entered the U.S. Capitol Building that that he

did not have permission to enter the building and the defendant did so with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress.

       13.      Upon exiting the Capitol Building on January 6, 2021, the defendant gave a

televised interview to WUSA-9 on the U.S. Capitol grounds, in which he made statements

including the following:

             a. “We tore through the scaffolding, through flash bangs and tear gas, and blitzed our

                way in through all the chambers just trying to get into Congress or whoever we

                could get in to and tell them that we need some kind of investigation into this.”

             b. “We had stormed into the chambers inside and there was a young lady who rushed

                through the windows. A number of police and Secret Service were saying get

                down, get out of the way. She didn’t heed the call and as we kind of raced up to

                try to grab people and pull them back, they shot her in the neck, and she fell back



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   on me.”

c. “[I]t could have been me, but she went in first. It was one of us.”

d. “It was a joke to them until we got inside and then guns came out, but we’re at a

   point now, it can’t be allowed to stand.”

                                         Respectfully submitted,


                                         CHANNING D. PHILLIPS
                                         Acting United States Attorney
                                         D.C. Bar No. 415793



                                  By:    _________________________
                                         Candice C. Wong
                                         Assistant United States Attorney




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